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                             Order
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                UNITED STATES COURT OF INTERNATIONAL TRADE

              BEFORE: THE HONORABLE GARY S. KATZMAN, JUDGE

BRIDGESTONE AMERICAS TIRE OPERATIONS, LLC )
                                                         )
Plaintiff,                                               )
                                                         )
v.                                                       )          Court No. 24-00263
                                                         )
UNITED STATES,                                           )          PUBLIC DOCUMENT
                                                         )
Defendant,                                               )
                                                         )
and                                                      )
                                                         )
United Steel, Paper and Forestry, Rubber, Manufacturing, )
 Energy, Allied Industrial and Service Workers           )
International Union, AFL-CIO, CLC.                       )
                                                         )
Defendant-Intervenors.                                   )

                                            ORDER

Pursuant to Plaintiff’s Motion to Supplement and Complete the Record, it is hereby ORDERED
that:

       Plaintiff’s Motion to Supplement and Complete the Record is granted; and

        The following documents shall be considered as part of the administrative record in this
matter, in accordance with Rule 73.2(a)(1) of this Court:

       1. The Accounts Receivable documentation presented by Plaintiff to the Department of
          Commerce at verification (included as Exhibit 2, Attachment 1 of Plaintiff’s Motion)

       2. The rebate data file in print and digital form, presented by Plaintiff to the Department
          of Commerce at verification (included as Exhibit 2, Attachment 2 of Plaintiff’s
          Motion)

       3. The homework pivot table summary, reflecting the data from the Attachment 3 file in
          compiled and sorted format (included as Exhibit 2, Attachment 3 of Plaintiff’s
          Motion).

SO ORDERED.

Dated: ____________, 2025                                   __________________________
       New York, New York                                   Judge
